Case 4:17-cr-00118 Document 1 Filed in TXSD on 02/03/17 Page 1 of 5

AO 9l (Rev. ll/l l) Criminal Complaint

 

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UNITED STATES DISTRICT CoURT S°““"m ¢;s,§gg¢f

 

 

 

 

for the ~ l
. _ FEB ~»32017
Southern Dlstrxct of Texas
MeLBM|¢y
United States of America ) """'~' chm“c°"n
v. )
) Case No.
SAMSON OLUGBENGA OYEKUNLE aka ) H 1 7 "' 0 1 4 0 M
woLE BROWN § '
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this casc, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 08/16/2016 - 02/02/20‘| 7 in the county of Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section Otense Description
18 USC Sec. 1343 Wire Fraud
18 USC Sec. 1546 Fraud and Misuse of Visas, Permits, and other Documents

This criminal complaint is based on these facts:

See Attached Affidavit of US Postal |nspector Matthew S. Boyden

d Continued on the attached sheet.

\/\/\.»S,"Qv/___`

Complainant ’s signature

 

US Postal |nspector Matthew S. Boyden

Printed name and title

 

Swom to before me and signed in my presence.

Date: 2 '3 z 2 %'7 . --/ _

y dge `s sign re

 

City and state: HOUStOn, Texas Nancy . Johnson, US Magistrate Judge
Printed name and title

 

 

 

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Case 4:17-cr-00118 Document 1 Filed in TXSD on 02/03/17 Page 2 of 5

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

Affiant, United States Postal Inspector Matthew S. Boyden, has been employed by the U.S.
Postal Inspection Service since January 2000. Affiant is currently assigned to the Major
Fraud team in Houston, Texas. Prior to that, Affiant served as a lieutenant of police for a
municipal police department in Texas. Afflant has served in the U.S. Air Force as a Law
Enforcernent Specialist and criminal investigator for the Air Force Offlce of Special
Investigations. Affiant has received specialized training in numerous Postal crimes, but
primarily those involving “identity theft” and mail fraud related offenses. Afflant has
attended training in the areas of check fraud, credit card fraud, and identity takeover
schemes. Afflant has investigated hundreds of cases involving fraud, identity theft, and
related “white collar” types of offenses. Affiant is authorized to obtain and execute Federal
Arrest and Search Warrants. This Affidavit is made in support of a criminal complaint filed
against Nigerian National SAMSON OLUGBENGA OYEKUNLE aka WOLE BROWN.

The information set forth in this Affidavit is based upon your Afflant’s personal knowledge
and/or information provided to Affiant by other law enforcement agents and officers,
witnesses, bank investigators, and cooperating individuals Afflant believes to be reliable and
credible. Because this Affidavit is being submitted for the limited purpose of supporting a
criminal complaint, Affiant has not included each and every fact concerning this
investigation Affiant has set forth only the facts believed to establish probable cause that
SAMSON OLUGBENGA OYEKUNLE aka WOLE BROWN has committed violations

of federal law.

For the past several months, Affiant has been investigating numerous Business E-mail
Compromise (BEC) complaints The FBI defines BEC fraud as a sophisticated scam
targeting businesses that regularly perform wire transfer payments The scam is carried out
by compromising legitimate business e-mail accounts through social engineering or computer
intrusion techniques to conduct unauthorized transfers of funds. Most victims report using
Wire transfers as a common method of transferring funds for business purposes; however,

some victims report using checks as a common method of payment. The fraudsters will use

 

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Case 4:17-cr-00118 Document 1 Filed in TXSD on 02/03/17 Page 3 of 5

the method most commonly associated with their victim’s normal business practices. Affiant
has identified numerous bank accounts opened with counterfeit passports in and around
Houston that are being funded with fraudulent BEC wire transfers. All of these Wires involve

the use of interstate wire communications facilities.

. On or about August 16, 2016, an individual (later identified as SAMSON OLUGBENGA

OYEKUNE) used a counterfeit Ghanaian passport G0593616 and United States Visa in the
name WOLE BROWN to open a bank account at Chase Bank in Houston, Texas. The
individual listed an address of 2501 Tanglewilde St. #137, Houston, Texas 77063. Affiant
learned from SA Katherine Langston with the Department of State, Diplomatic Security
Service, that the WOLE BROWN passport and visa are fraudulent According to Chase
Bank fraud investigators, the account was used to receive over $200,000 in fraudulent

deposits. Below is a partial list of fraudulent deposits to the account:

0 $l 1,750 wire on 10/21/ 16 from the Dependable Vehicle Delivery LLC account at Vystar
Credit Union

0 $31,300 wire on 10/26/ 16 from the James M. Cummins account at Navy Federal Credit
Union

0 $lS,OOO Wire on 11/10/16 from the Law Office of J. David Black account at First
Republic Bank

0 $15,000 wire on 11/22/ 16 from the Billie M. McDonald account at Manufacturers and
Traders Trust Bank

. Affiant conducted a review of multiple law enforcement and financial databases and learned

that the fraudulent WOLE BROWN passport was used at other financial institutions like
Bank of America, Capital One Bank, First National Bank Texas, and Wells Fargo Bank to
facilitate fraud payments from victims. According to those records over $500,000.00 has

been deposited and withdrawn through these fraud accounts

Case 4:17-cr-00118 Document 1 Filed in TXSD on 02/03/17 Page 4 of 5

6. On February 2, 2017, Affiant received bank video and surveillance of the impostor using the
WOLE BROWN passport. That information was provided to SA Langston who developed
SAMSON OLUGBENGA OYEKUNLE using facial recognition software and technology.
SA Langston provided Affiant with several different photos of OYEKUNLE which clearly
depict the same person using the WOLE BROWN documents. Affiant also obtained the
Texas Department of Public Safety photos of OYEKUNLE which also depict the same
person. In the Texas DPS photo of OYEKUNLE he appears to be wearing the same jewelry
that is shown in a photo taken by First National Bank Texas. The following is a side by side

comparison:

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Texas DPS ~ SAMON OYEKUNLE First National Bank Texas - WOLE BROWN

 

 

 

Case 4:17-cr-00118 Document 1 Filed in TXSD on 02/03/17 Page 5 of 5

7. Based upon the above, the undersigned believes there is probable cause to believe that
SAMSON OLUGBENGA OYEKUNLE aka WOLE BROWN has committed crimes in
violation of Title 18, United States Code, Sections 1343, and 1546.

\/\»~ 3 . \D,__.
Matthew S. Boyden
United States Postal Inspector

 

Sworn and Subscribed to me this 3rd day of February, 2017, and I find probabl ause.

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Nancy'K. o;i/ln%m/
Unite tate agistr e Judge

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